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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------- X
  THOMAS F. LIOTTI, ESQ., on behalf of himself and the:
  Pro Bono Publico Bar Association, Inc.               :
                                                       :
                                            Plaintiffs,:
                                                       :             19-cv-4264 (WFK) (LB)
                        -against-                      :
                                                       :
  THE NASSAU COUNTY BD. OF ELECTIONS, THE :
  NEW YORK STATE BD. OF ELECTIONS, THE                 :
  NASSAU COUNTY REPUBLICAN COMMITTEE; :
  THE NASSAU COUNTY DEMOCRATIC
  COMMITTEE; THE NASSAU COUNTY
  CONSERVATIVE PARTY; INDEPENDENCE PARTY
  OF NEW YORK STATE; and WORKING FAMILIES
  PARTY,
                                                 Defendants.

  ---------------------------------------------------------------X



                                            NOTICE OF MOTION

          PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, and all prior

  proceedings and papers filed herein, Defendant NEW YORK STATE BOARD OF ELECTIONS

  (“State Board”) by its attorney, Letitia James, Attorney General of the State of New York, will

  move this Court before the Honorable William F. Kuntz, United States District Judge, Eastern

  District of New York, at 225 Cadman Plaza East, Brooklyn, New York 11209 for an order pursuant

  to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure dismissing with prejudice

  all claims asserted by the Plaintiff against the State Board for lack of subject matter jurisdiction

  and for failure to state a claim upon which relief can be granted, and granting such other and further

  relief as this Court deems just and proper.
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         PLEASE TAKE FURTHER NOTICE that, in accordance with the Court’s Order dated

  October 26, 2020, Plaintiff’s response and any cross-motion shall be served on the State Board no

  later than March 15, 2021. Defendant State Board’s opposition to Plaintiff’s cross-motion (if any)

  shall be served by April 15, 2021. Defendant State Board’s reply to Plaintiff’s opposition to its

  motion to dismiss shall be served by April 30, 2021, at which time all motion papers shall be filed.

  Dated: New York, New York
         January 15, 2021


                                        LETITIA JAMES
                                        Attorney General of the State of New York


                                        By: ____________________________
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  TO:

  Counsel of Record
  (via email)
